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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT




ANDRÉ DACRES                                                      &$6(12FY 691 

               Petitioner,
v.

LAKAE T. McGOWAN

            Respondent.
______________________________________/

                               VOLUNTARY RETURN ORDER

       This Voluntary Return Order directing return of the minor child DKD to Jamaica is made

pursuant the 1980 Convention on the Civil Aspects of International Child Abduction (the “Hague

Convention”), and the International Child Abduction Remedies Act (“ICARA”), 22 U.S.C. 9001

et seq. and in accordance with article 7 of the Hague Convention, and in accordance with this

Court’s indicative ruling given on September 20, 2023, after having conducted an evidentiary

hearing in this matter on June 27 and July 13, 2023, and thereafter having received the report and

supplemental report of the court-appointed neutral expert Dr. Peter Favaro. It is therefore by the

United States District Court for the District of Connecticut and with the express agreement and

stipulation of the parties hereby:

       1.     ORDERED, that the minor child DKD (born in 2019) (the “child”) shall be

returned to Jamaica, the child’s habitual residence; and it is further

       2.      ORDERED, that the parties shall meet at the office of Dr. Peter Favaro on

October9, 2023 for the Father to pick up the child from the Mother for the flight to Jamaica. The

parties, through their respective counsel, shall cooperate, in consultation with Dr. Favaro, to

arrange the meeting time at Dr. Favaro’s office on October 9, 2023. The parties and their

respective counsel

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shall comply with any and all protocols required by Dr. Favaro for the child exchange; and it is

further

          3.   ORDERED, that WKH 0RWKHU¶V FRXQVHO REWDLQ WKH FKLOG¶V SDVVSRUW IURP WKH

'LVWULFW&RXUWDQGKROGLWLQKLVSRVVHVVLRQXQWLOWUDQVIHUULQJLWWRWKH)DWKHUat the office of Dr.

PeterFavaro at the child exchange, DQG WKDW WKH 0RWKHU VKDOO SURYLGH  WR WKH )DWKHU all of the

child’s RWKHU travel documents, birth certificates, and vaccination/immunization cards WR

3HWLWLRQHUDWWKHFKLOGH[FKDQJH; and it is further

          4.   ORDERED, that in accordance with 22 U.S.C. 9004, the Mother be and hereby is

prohibited from removing DKD or causing DKD to be removed from the State of Connecticut,

before DKD’s departure from Connecticut for Jamaica, except for travel to Dr. Favaro’s office

for DKD’s travel to Jamaica; and it is further

         5.   ORDERED, that the Father shall file a notice in this Court promptly upon DKD’s

returnto Jamaica to confirm to this Court that DKD has been returned to Jamaica; and it is further

          6.   ORDERED, that it is the intention of both parties to enter into a formal order in

Jamaica that will provide for (1) in-person access for the Mother and child in the States of

Connecticut and New York, at the sole expense of the Mother, during portions of the child’s

school breaks to be agreed between the parties and their counsel in Jamaica; (2) remote access to

the child at times to be agreed with Father, in no event less than one hour per week by FaceTime

or other videoconferencing; (3) physical access to the child by the Mother or a member of her

extended family, with reasonable notice of at least two days to the Father; all after any and all

United States orders of protection or their equivalents have been dismissed with prejudice by

the Mother, and only after such formal order is mirrored and registered and has become fully

enforceable at the Mother’s sole expense in the States of Connecticut and New York under

their Uniform Child Custody Jurisdiction and Enforcement Acts, and which formal order and

mirrored and registered enforceable orders provide for appropriate safeguards for the Father to
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monitor the whereabouts
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of the child at all times when the child is temporarily in the States of Connecticut and New York;

and it is further

        7.     ORDERED, that if the Mother does not deliver the child to Dr. Favaro’s office on

October 9, 2023 in accordance with Paragraph 2 of this Voluntary Return Order, or if she interferes

or causes or allows others to interfere with or otherwise prevent the Father from returning the child

to Jamaica in accordance with this Voluntary Return Order, any peace officer in the State of

Connecticut, or any federal officer anywhere in the United States and its territories, is hereby

commanded to assist the Father to pick up the child in the United States and its territories, and to

allow the Father to accompany DKD to Jamaica, giving the Father the right without interference

to have DKD in his lawful custody for the purposes described herein; and it is further

        8.     ORDERED, that if the Mother does not deliver the child to Dr. Favaro’s office on

October 9, 2023 in accordance with Paragraph 2 of this Voluntary Return Order, or if she

interferes or causes or allows others to interfere with or otherwise prevent the Father from

returning DKD to Jamaica in accordance with this Voluntary Return Order, the Court may issue

a warrant for the arrest of the Mother and appearance for a contempt hearing; and it is further

        9.     ORDERED, that if the Mother does not deliver the child to Dr. Favaro’s office on

October 9, 2023 in accordance with this Voluntary Return Order, or if she interferes or causes or

allows others to interfere with or otherwise prevent the Father from returning DKD to Jamaica in

accordance with this Voluntary Return Order, the United States Marshal or their Deputy shall enter

the name of DKD born in 2019, into the national police computer system (N.C.I.C.) missing

children’s section forthwith upon request of the Court or the Father through his counsel of record

in this matter; and it is further




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       10.     ORDERED, that this Return Order is not a determination of the merits of any

custody issues within the meaning of Article 19 of the Hague Convention; and it is further

       11.     ORDERED, that by agreement of the parties, each party shall pay his or her own

attorneys’ fees, suit money, expenses, and costs associated with this matter incurred through the

entry of this Voluntary Return Order, and each party waives any and all claims against the other

under the Hague Convention and/or ICARA for necessary expenses and attorneys’ fees through

entry of this Voluntary Return Order; and it is further

       12.     ORDERED, that this Voluntary Return Order is made under the authority of 22

U.S.C. 9003(a), conferring original jurisdiction upon this Court, and under the authority of Article

12 of the 1980 Hague Convention.

SO ORDERED.                                                              Digitally signed by Sarala
                                                          Sarala V       V Nagala

                                                          Nagala         Date: 2023.10.04
                                                          ______________________________
                                                                         14:25:52 -04'00'

                                                          Sarala V. Nagala
                                                          United States District Judge

Dated: Hartford, Connecticut
       October , 2023


APPROVED AS TO FORM AND CONTENT:


/s/ Kelly A. Powers                                   /s/Alexander T. Taubes
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